IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
EASTERN DIVISION

 

IVA JOY and WILLIAM JOY,

Plaintiffs,

v. No. 1:20-cv-1131-STA-jay

AMGUARD INSURANCE COMPANY,

Defendant/Third-Party Plaintiff,

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V.

ANTHONY LANCASTER
INSURANCE AGENCY, INC.,

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Third-Party Defendant.

 

VERDICT

 

We, the Jury, return the following verdict:

1. Did the Joys prove by a preponderance of the evidence that AmGuard breached the terms of
their homeowners’ insurance policy?

JV Yes No

If your answer to question 1 is “no,” your verdict is for AmGuard, and you should not
proceed further except to date and sign this verdict form and return it to the courtroom. If
your answer to question 1 is “yes,” please answer question 2.

2a. Did AmGuard prove by a preponderance of the evidence that Iva Joy made a material
misrepresentation V Proposal of Insurance?

Yes No
If your answer to question 2a is “yes,” proceed to question 2b. If your answer to question
2a is “no,” please proceed to answer question 3.

2b. Did AmGuard prove by a preponderance of the evidence that Iva Joy knowingly and
intentionally made a material misrepresentation on the Proposal of Insurance with the intent to

deceive?
Yes V No

If your answer to question 2b is “yes,” your verdict is for AmGuard, and you should not
proceed further except to date and sign this verdict form and return it to the courtroom. If
your answer to question 2b is “no,” proceed to question 3.

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3. We, the jury, find the Joys are entitled to recover damages from AmGuard for the fire loss
incurred in this case in the following amounts:

$ 2 28, 43 Dwelling
$ G 1,000 Contents

$ G 8 } 4 4 : Additional living expenses

4, Did AmGuard act in bad faith in denying the Joys’ insurance claim?

Vv Yes No

If your answer to question 4 is “no”, your verdict is for AmGuard on the good faith issue.
Skip questions 5 and 6, and proceed to question 7a. If your answer to question 4 is “yes,”
please answer question 5.
5. Did eV oe cause additional expense, loss, or injury to the Joys?

Yes No

If your answer to question 5 is “no,” skip question 6, and proceed to question 7a. If your
answer to question 5 is “yes,” please answer question 6.

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6. What penalty for bad faith, if any, do you find that the Joys are entitled to recover from
AmGuard?

K ) % (You may award any percentage not to exceed 25% of the damages in this case.)

7a. What annual percentage of prejudgment interest if any, do you award?

O15 (Do not exceed 10%.)

7b. From what date should prejudgment interest be awarded?

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G 2045 he date cannot be earlier than August 16, 2020, which is 60 days after
the phoof of los# was filed. Note the Court will calculate the total interest to be paid based on
your responses to these questions.)

8. Did AmGuard prove by a preponderance of the evidence that it suffered a loss that arose from
or resulted from any negligence, error, or omission of the Anthony Lancaster Insurance Agency,

Inc.?
Yes JV

If your answer to question 8 is “no,” your verdict on the Third-Party Complaint is for the
Anthony Lancaster Insurance Agency, Inc. You should not proceed further except to date
and sign this verdict form and return it to the courtroom. If your answer to question 8 is
“ves”, please answer question 9.
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9. Did the Anthony Lancaster Insurance Agency, Inc. prove by a preponderance of the evidence
that AmGuard’s concurrent negligence caused its own loss?

Yes No

If your answer to question 9 is “yes,” your verdict on the Third-Party Complaint is for the
Anthony Lancaster Insurance Agency, Inc. You should not proceed further except to date
and sign this verdict form and return it to the courtroom. If your answer to question 9 is
“no”, please answer question 10.

10. What is the total amount AmGuard is entitled to recover in indemnification from the
Anthony Lancaster Insurance Agency, Inc.?

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